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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                    CHARLOTTESVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
                                             )   Case No. 3:95CR00066
                                             )
v.                                           )   OPINION AND ORDER
                                             )
NERIKA LAKISHA JENKINS,                      )   By: James P. Jones
                                             )   Chief United States District Judge
            Defendant.                       )

      R. Andrew Bassford, Assistant United States Attorney, Roanoke, Virginia, for
United States; Nancy C. Dickenson, Assistant Federal Public Defender, Abingdon,
Virginia, for Defendant.

      The question presently before the court is whether the defendant should receive

a reduction of her sentence pursuant to the Sentencing Commission’s retroactive

application of the reduced crack cocaine guidelines.



                                         I

      The defendant, Nerika Jenkins, was convicted of conspiracy to distribute crack

cocaine, in violation of 21 U.S.C.A. § 846 (West 1999). She was sentenced by this

court on October 27, 1997. Under the sentencing guidelines, the defendant’s Total

Offense Level was 36 with a Criminal History Category of I, resulting in an

imprisonment range of 188 to 235 months. This court sentenced the defendant to 230
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months incarceration, together with five years of supervision following her release

from prison.

       Effective November 1, 2007, the U.S. Sentencing Commission amended the

Drug Quantity Table at USSG § 2D1.1 so that crack cocaine quantities were generally

lowered by two levels. See USSG app. C, amends. 706, 711 (Supp. 2007). Under the

amended guidelines, the defendant would have a Total Offense Level of 34, resulting

in an imprisonment range of 151 to 188 months.

       On February 22, 2008, pursuant to 18 U.S.C.A. § 3582(c)(2) (West 2000) and

USSG § 1B1.10 (Supp. effective Mar. 3, 2008), I notified the parties that I was

contemplating reducing the defendant’s sentence to time served.1 The government

objected to any reduction in sentence for the defendant. For the reasons following,

I will overrule the government’s objections and grant the reduction as proposed.




       1
          Because the Bureau of Prisons indicates that the defendant’s current projected
release date is April 10, 2014, upon reduction of her sentence she will be entitled to
immediate release. The Bureau of Prisons has requested that any reduction in an inmate’s
sentence under 18 U.S.C.A. § 3582(c)(2) resulting in immediate release be stayed for a
period of ten days in order to allow it to perform its pre-release public safety obligations. See
Letter from Director of Bureau of Prisons to Chair of Committee on Criminal Law (Feb. 13,
2008).

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                                         II

      The Sentencing Commission’s policy statement provides that in determining

whether a reduction should be granted under § 3582(c)(2), and the extent of such a

reduction, the court must consider the factors set forth in 18 U.S.C.A. § 3553(a)

(West 2000 & Supp. 2007), as well as the danger to any person or the community, and

the court may consider the post-sentencing conduct of the defendant. USSG § 1B1.10

cmt. n.1(B).

      The government’s objections to the reduction of the defendant’s sentence may

be divided into two groups. First, the government emphasizes the conduct underlying

the present convictions, including the amount of crack cocaine for which the

defendant was held responsible and the defendant’s role in the offense. Second, the

government contends that the defendant’s behavior while incarcerated militates

against a reduction. I will address each concern in turn.

      The guidelines provide a vehicle for consideration of conduct underlying an

offense. The defendant’s Total Offense Level takes into account the amount of crack

cocaine for which the defendant was responsible and the defendant’s role in the

offense.

      The government’s final argument is that the defendant has behaved in such a

manner in prison as to indicate that it would be dangerous to release her into the

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community. In the approximately ten years that the defendant has been incarcerated,

she has been sanctioned for nine incidents of misconduct, including refusal to obey

orders and insolence. I do not find that the defendant’s post-sentencing conduct is

significant enough to bar a reduction of her sentence.

      Infractions in prison can be serious and may indicate that a defendant will

disregard the rules and laws of the community. Accordingly, the Bureau of Prisons

has the discretion to grant or withhold good time, giving some inmates the

opportunity to eliminate fifteen percent of the total sentence imposed by the court.

Nothing in my ruling today changes that. If the Bureau of Prisons has determined

that the defendant’s infractions warrant a reduction in her good time, then the

defendant may be required to serve the entirety of her new sentence in prison.

Furthermore, if the government decides that deprivation of good time is an

insufficient penalty for an infraction, then it has the option of prosecuting an inmate

for the crimes she committed in prison.



                                          III

      In accord with 18 U.S.C.A. § 3582(c)(2), 18 U.S.C.A. § 3553(a), and USSG

§ 1B1.10, I will reduce the defendant’s sentence to time served. All other terms of




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the original sentence, including length of supervised release, conditions of supervised

release, and monetary penalties will remain unchanged.

      It is so ORDERED.

                                               ENTER: March 5, 2008

                                               /s/ JAMES P. JONES
                                               Chief United States District Judge




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